      Case 3:20-cv-08103-WHA Document 395-4 Filed 08/25/22 Page 1 of 13


From:            Darrell Atkinson
To:              Christina V. Rayburn; Spencer Hosie; Amazon/MasterObjects [INT]; Diane Rice; Jerry Shaw
Cc:              Moez M. Kaba
Subject:         RE: Re:
Date:            Friday, August 12, 2022 4:52:14 PM
Attachments:     2022-8-12 - Draft - Joint Letter Requesting Guidance re Trial Date.docx
                 Ex. A to Joint Letter.pdf


Christy:

I attach the draft joint letter with MasterObjects’ position inserted. I also attach an Ex. A that
should be included with the letter. If Amazon has any edits to its portion of the letter, then we
will need to see it again.

Regards,

Darrell

From: Christina V. Rayburn <crayburn@hueston.com>
Sent: Thursday, August 11, 2022 3:46 PM
To: Spencer Hosie <shosie@hosielaw.com>; Amazon/MasterObjects [INT]
<AmazonMasterObjects@hueston.com>; Diane Rice <drice@hosielaw.com>; Darrell Atkinson
<datkinson@hosielaw.com>; Jerry Shaw <jshaw@hosielaw.com>
Cc: Moez M. Kaba <mkaba@hueston.com>
Subject: RE: Re:

Spencer,

Attached please find a draft joint letter to the Court requesting guidance regarding the trial dates.
Please provide your section, or let me know if you have proposed changes to the format.

Best,
Christy


 Christina V. Rayburn
 ___________________________________
 HUESTON HENNIGAN LLP
 D: 949.356.6412
 crayburn@hueston.com
 Biography


From: Spencer Hosie <shosie@hosielaw.com>
Sent: Thursday, August 11, 2022 12:38 PM
To: Christina V. Rayburn <crayburn@hueston.com>; Amazon/MasterObjects [INT]
<AmazonMasterObjects@hueston.com>; Diane Rice <drice@hosielaw.com>; Darrell Atkinson
<datkinson@hosielaw.com>; Jerry Shaw <jshaw@hosielaw.com>
Cc: Moez M. Kaba <mkaba@hueston.com>
      Case 3:20-cv-08103-WHA Document 395-4 Filed 08/25/22 Page 2 of 13


Subject: Re:

No. We do NOT so stipulate. We inform the court of your issue, MO reluctance to agree to a many
month open ended delay, which is inherently prejudicial to any plaintiff, and then see what the
Court would like to do.


Get Outlook for iOS

From: Christina V. Rayburn <crayburn@hueston.com>
Sent: Thursday, August 11, 2022 12:20:52 PM
To: Spencer Hosie <shosie@hosielaw.com>; Amazon/MasterObjects [INT]
<AmazonMasterObjects@hueston.com>; Diane Rice <drice@hosielaw.com>; Darrell Atkinson
<datkinson@hosielaw.com>; Jerry Shaw <jshaw@hosielaw.com>
Cc: Moez M. Kaba <mkaba@hueston.com>
Subject: RE: Re:

Thank you, Spencer. I’m not sure I understand what you are envisioning for this joint filing. Can I
prepare a Joint Stipulated Request and [Proposed] Order to Change Time Per Civil L.R. 6-2?


 Christina V. Rayburn
 ___________________________________
 HUESTON HENNIGAN LLP
 D: 949.356.6412
 crayburn@hueston.com
 Biography


From: Spencer Hosie <shosie@hosielaw.com>
Sent: Thursday, August 11, 2022 12:13 PM
To: Christina V. Rayburn <crayburn@hueston.com>; Amazon/MasterObjects [INT]
<AmazonMasterObjects@hueston.com>; Diane Rice <drice@hosielaw.com>; Darrell Atkinson
<datkinson@hosielaw.com>; Jerry Shaw <jshaw@hosielaw.com>
Cc: Moez M. Kaba <mkaba@hueston.com>
Subject: Re:

Do what? Send us your proposed fling and we will speak for ourselves. Joint means joint.

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From: Christina V. Rayburn <crayburn@hueston.com>
Sent: Thursday, August 11, 2022 12:11:51 PM
To: Spencer Hosie <shosie@hosielaw.com>; Amazon/MasterObjects [INT]
<AmazonMasterObjects@hueston.com>; Diane Rice <drice@hosielaw.com>; Darrell Atkinson
<datkinson@hosielaw.com>; Jerry Shaw <jshaw@hosielaw.com>
Cc: Moez M. Kaba <mkaba@hueston.com>
      Case 3:20-cv-08103-WHA Document 395-4 Filed 08/25/22 Page 3 of 13


Subject: RE: Re:

Great, thank you. Please do so at your earliest convenience.


 Christina V. Rayburn
 ___________________________________
 HUESTON HENNIGAN LLP
 D: 949.356.6412
 crayburn@hueston.com
 Biography


From: Spencer Hosie <shosie@hosielaw.com>
Sent: Thursday, August 11, 2022 12:10 PM
To: Christina V. Rayburn <crayburn@hueston.com>; Amazon/MasterObjects [INT]
<AmazonMasterObjects@hueston.com>; Diane Rice <drice@hosielaw.com>; Darrell Atkinson
<datkinson@hosielaw.com>; Jerry Shaw <jshaw@hosielaw.com>
Cc: Moez M. Kaba <mkaba@hueston.com>
Subject: Re:

We will. Needs perforce to be a joint filing.

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From: Christina V. Rayburn <crayburn@hueston.com>
Sent: Thursday, August 11, 2022 12:08:11 PM
To: Spencer Hosie <shosie@hosielaw.com>; Amazon/MasterObjects [INT]
<AmazonMasterObjects@hueston.com>; Diane Rice <drice@hosielaw.com>; Darrell Atkinson
<datkinson@hosielaw.com>; Jerry Shaw <jshaw@hosielaw.com>
Cc: Moez M. Kaba <mkaba@hueston.com>
Subject: RE: Re:

OK, and you do not want to provide your trial conflicts going forward, in the event that the Court
cannot reset to the prior date?


 Christina V. Rayburn
 ___________________________________
 HUESTON HENNIGAN LLP
 D: 949.356.6412
 crayburn@hueston.com
 Biography


From: Spencer Hosie <shosie@hosielaw.com>
Sent: Thursday, August 11, 2022 12:06 PM
To: Christina V. Rayburn <crayburn@hueston.com>; Amazon/MasterObjects [INT]
<AmazonMasterObjects@hueston.com>; Diane Rice <drice@hosielaw.com>; Darrell Atkinson
     Case 3:20-cv-08103-WHA Document 395-4 Filed 08/25/22 Page 4 of 13


<datkinson@hosielaw.com>; Jerry Shaw <jshaw@hosielaw.com>
Cc: Moez M. Kaba <mkaba@hueston.com>
Subject: Re:

I thk amz needs to inform court of apparent amz counsel conflict. Perhaps the Court can reset to
prior date.

Get Outlook for iOS

From: Christina V. Rayburn <crayburn@hueston.com>
Sent: Thursday, August 11, 2022 10:56:39 AM
To: Spencer Hosie <shosie@hosielaw.com>; Amazon/MasterObjects [INT]
<AmazonMasterObjects@hueston.com>; Diane Rice <drice@hosielaw.com>; Darrell Atkinson
<datkinson@hosielaw.com>; Jerry Shaw <jshaw@hosielaw.com>
Cc: Moez M. Kaba <mkaba@hueston.com>
Subject: RE: Re:

Hi Spencer,

I’m following up again on the below. We need to get this issue resolved promptly so that the parties
and the Court can have clarity regarding schedules and case deadlines. Will you be able to join us in
proposing trial dates that do not conflict with your calendar?

Best,
Christy


 Christina V. Rayburn
 ___________________________________
 HUESTON HENNIGAN LLP
 D: 949.356.6412
 crayburn@hueston.com
 Biography


From: Christina V. Rayburn <crayburn@hueston.com>
Sent: Wednesday, August 10, 2022 12:20 PM
To: Spencer Hosie <shosie@hosielaw.com>; Amazon/MasterObjects [INT]
<AmazonMasterObjects@hueston.com>; Diane Rice <drice@hosielaw.com>; Darrell Atkinson
<datkinson@hosielaw.com>; Jerry Shaw <jshaw@hosielaw.com>
Cc: Moez M. Kaba <mkaba@hueston.com>
Subject: RE: Re:

Spencer,

I am following up on the below.
      Case 3:20-cv-08103-WHA Document 395-4 Filed 08/25/22 Page 5 of 13


Best,
Christy


 Christina V. Rayburn
 ___________________________________
 HUESTON HENNIGAN LLP
 D: 949.356.6412
 crayburn@hueston.com
 Biography


From: Christina V. Rayburn <crayburn@hueston.com>
Sent: Tuesday, August 9, 2022 4:03 PM
To: Spencer Hosie <shosie@hosielaw.com>; Amazon/MasterObjects [INT]
<AmazonMasterObjects@hueston.com>; Diane Rice <drice@hosielaw.com>; Darrell Atkinson
<datkinson@hosielaw.com>; Jerry Shaw <jshaw@hosielaw.com>
Cc: Moez M. Kaba <mkaba@hueston.com>
Subject: RE: Re:

Thanks, Spencer. Based on our trial schedule and pre-planned holiday travel, we could commit to
any dates between January 9, 2023 and February 17, 2023. Speaking for my own trial conflict in San
Francisco, I have no reason to believe it will be trailed, and certainly cannot bank on such a
possibility. I can say that it already got extended once, from June, so it will not be extended again.



 Christina V. Rayburn
 ___________________________________
 HUESTON HENNIGAN LLP
 D: 949.356.6412
 crayburn@hueston.com
 Biography


From: Spencer Hosie <shosie@hosielaw.com>
Sent: Tuesday, August 9, 2022 3:13 PM
To: Christina V. Rayburn <crayburn@hueston.com>; Amazon/MasterObjects [INT]
<AmazonMasterObjects@hueston.com>; Diane Rice <drice@hosielaw.com>; Darrell Atkinson
<datkinson@hosielaw.com>; Jerry Shaw <jshaw@hosielaw.com>
Cc: Moez M. Kaba <mkaba@hueston.com>
Subject: Re:

We are still working the issue. We are very uncomfortable with a multi month, open ended trial
delay. Can you be more specific about amz counsel availability as close to current trial date as
possible ?
 Related question: in my experience, most State Superior courts tend to trail trials, even when
nominally hard set. Routine in SF and Santa Clara counties. Do you have reason to believe that will
not happen in HH two cases?
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 Perhaps a call makes sense. I am in depo tomorrow, but shd clear by mid aft.

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From: Christina V. Rayburn <crayburn@hueston.com>
Sent: Tuesday, August 9, 2022 2:32 PM
To: Spencer Hosie <shosie@hosielaw.com>; Amazon/MasterObjects [INT]
<AmazonMasterObjects@hueston.com>
Cc: Moez M. Kaba <mkaba@hueston.com>
Subject: RE: Re:

Spencer,

I’m following up on the below request. Were you able to discuss the trial date with your client?

Best,
Christy


 Christina V. Rayburn
 ___________________________________
 HUESTON HENNIGAN LLP
 D: 949.356.6412
 crayburn@hueston.com
 Biography


From: Christina V. Rayburn <crayburn@hueston.com>
Sent: Monday, August 8, 2022 9:54 PM
To: Spencer Hosie <shosie@hosielaw.com>; Amazon/MasterObjects [INT]
<AmazonMasterObjects@hueston.com>
Cc: Moez M. Kaba <mkaba@hueston.com>
Subject: RE: Re:

Monster Energy v. Vital Pharms., Case No. 18-cv-1882, C.D. Cal. Starts tomorrow.


 Christina V. Rayburn
 ___________________________________
 HUESTON HENNIGAN LLP
 D: 949.356.6412
 crayburn@hueston.com
 Biography


From: Spencer Hosie <shosie@hosielaw.com>
Sent: Monday, August 8, 2022 9:32 PM
To: Christina V. Rayburn <crayburn@hueston.com>; Amazon/MasterObjects [INT]
<AmazonMasterObjects@hueston.com>
      Case 3:20-cv-08103-WHA Document 395-4 Filed 08/25/22 Page 7 of 13


Cc: Moez M. Kaba <mkaba@hueston.com>
Subject: Re:

Case and jurisdiction pls.

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From: Christina V. Rayburn <crayburn@hueston.com>
Sent: Monday, August 8, 2022 9:25:29 PM
To: Spencer Hosie <shosie@hosielaw.com>; Amazon/MasterObjects [INT]
<AmazonMasterObjects@hueston.com>
Cc: Moez M. Kaba <mkaba@hueston.com>
Subject: RE:

Thank you, Spencer. Moez is currently in a trial that is expected to last into the first week of
September. Given that trial, and his Don Lee trial that follows, we cannot make an earlier date work.

Best,
Christy


 Christina V. Rayburn
 ___________________________________
 HUESTON HENNIGAN LLP
 D: 949.356.6412
 crayburn@hueston.com
 Biography


From: Spencer Hosie <shosie@hosielaw.com>
Sent: Monday, August 8, 2022 5:41 PM
To: Amazon/MasterObjects [INT] <AmazonMasterObjects@hueston.com>
Subject:

Counsel: we are discussing AMZ request for trial delay with our client tomorrow. Question: if the
Court can accommodate an earlier trial, what date works for collective Amz counsel?

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inside information. Any distribution or use of this communication by anyone other than the intended
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            Case 3:20-cv-08103-WHA Document 395-4 Filed 08/25/22 Page 8 of 13
                                             MOEZ M. KABA           mkaba@hueston.com    523 West 6th Street
                                                                    D: 213 788 4543      Suite 400
                                                                    T: 213 788 4340      Los Angeles, CA 90014
                                                                    F: 888 775 0898




August 11, 2022

Judge William Alsup
San Francisco Courthouse, Courtroom 12 – 19th Floor
450 Golden Gate Avenue, San Francisco, CA 94102

Dear Judge Alsup:

The parties hereby request the Court’s guidance regarding the dates for the Pretrial Conference and Trial
in this matter.

I.     Amazon’s Position

On August 5, 2022, this Court issued a “CLERK’S NOTICE ADVANCING PRETRIAL CONFERENCE,
JURY SELECTION, AND JURY TRIAL DATES BY ONE WEEK.” Dkt. No. 382. In that notice, the Court
advanced the Final Pretrial Conference from October 12, 2022 to October 5, 2022 and the first date of Trial
from October 17, 2022 to October 11, 2022. Id. The Court set the trial for eight court days. Id.

This change creates trial conflicts for both Amazon’s lead counsel in this matter, Mr. Moez Kaba and Ms.
Christy Rayburn.

Mr. Kaba is lead trial counsel in a trial scheduled to begin in Los Angeles Superior Court on September 26,
2022. That trial is expected to last through October 14. The case is Don Lee Farms v. Savage River, Inc.,
Case No. BC662838. This previously scheduled trial conflicts with the current dates for the Pretrial
Conference and trial in this case.

Ms. Rayburn is lead trial counsel in a trial scheduled to begin in San Francisco Superior Court on October
3, 2022. That trial is expected to last for 5 days, through October 7. The case is New Pacific Hotel Inc. v.
Sonder USA Inc., Case No. CGC-20-586949. This previously scheduled trial conflicts with the current date
for the Pretrial Conference, and is projected to run through the Friday before trial in this matter begins on
the following Tuesday. Such a schedule would make it difficult for Ms. Rayburn to prepare adequately for
this trial.

Counsel is aware that trials can move, or the underlying matters can be resolved. That said, we wanted to
alert the Court as soon as possible to the conflicts presented by the new Pretrial Conference and trial dates.

Amazon assumes, based on the Clerk’s Notice, Dkt. No. 382, that the Court cannot conduct trial on the
dates previously scheduled. Mr. Kaba also has trial conflicts spanning November 7, 2022 through
November 18, 2022, and November 28, 2022 through December 9, 2022. 1

Accordingly, Amazon respectfully requests that trial in this matter be rescheduled to a time between January
9, 2022 and February 17, 2023. Amazon is also willing to provide additional dates, if needed. Counsel
understands that, pursuant to Civil Local Rule 40-1, trial continuances are to be sought by noticed motion,
and is willing to file such a motion. That said, based on the discussion between the parties, the closeness


1
 These matters are Los Robles Regional Medical Center, et al. v. Kaiser Foundation Health Plan, Case No.
RGI7880285, in Alameda Superior Court and Palantir Techs. Inc. v. Abramowitz, et al., Case No. 19-cv-
6879 in the Northern District of California.
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                                                                                         Judge William Alsup
                                                                                         August 11, 2022
                                                                                         Page 2




of the trial date, and the recency of the date change, Amazon hereby seeks the Court’s guidance regarding
the trial date, to allow for planning for the parties and the Court.

II.    MasterObjects’ Position

         MasterObjects opposes Amazon’s request that the trial in this case be reset until sometime in 2023.
The Court set a trial date for October 17, 2022 in January of this year. See ECF 239. On August 5, this
Court advanced the trial by one week, to October 11, 2022. See ECF 382. Amazon now says that it has
two “co-lead” counsel in this matter, Mr. Moez Kaba and Ms. Christy Rayburn. Amazon says that Ms.
Rayburn has a trial in Superior Court concluding by October 7, 2022, the New Pacific Hotel Inc. v. Sonder
USA Inc. case. On June 13, 2022, Hueston Hennigan counsel asked the Court in the Sonder case to move
the trial in that case to October 4, while fully aware of the imminent trial in this case. More, Ms. Rayburn is
not listed on the masthead in that case in Hueston Hennigan mid-June filings. See Ex. A.

        Second, Mr. Kaba says that he is lead trial counsel on a different case, Don Lee Farms v. Savage
River, Inc. This Superior Court trial has been long set, and would have left Mr. Kaba unavailable for the
Pretrial Conference in this matter. While Amazon says that this trial would conclude the Friday before the
long-set trial date in this case, there is never any assurance that a trial will end exactly when expected.

       Amazon counsel disclosed none of these imminent conflicts in this case.

       Delays inherently are prejudicial to the plaintiff. But, more concretely, MasterObjects’ experts and
witnesses have long blocked out the trial date set in this case eight months ago, as have MasterObjects’
counsel. All have made hotel and travel arrangements accordingly, including MasterObjects’ counsel
blocking a book of hotel rooms for the long-set trial.

        We appreciate that dockets change and dates can shift. But, here, Amazon seems to have built in
significant undisclosed conflicts risks, which it now suggests should stay this MasterObjects v. Amazon trial
for an indeterminate period.

Respectfully,



Moez M. Kaba



/s/ Spencer Hosie
Spencer Hosie
Lead Trial Counsel for Plaintiff MasterObjects, Inc.
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                        EXHIBIT A
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